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                                United States District Court
                                          for the
                                Southern District of Florida

      Martin Kuntz and Steve Binns,         )
      Plaintiffs,                           )
                                            )
      v.                                    )
                                              Civil Action No. 21-24213-Civ-Scola
                                            )
      Knauf GIPS, KG, and Knauf             )
      Plasterboard (Tianjin) Co., Ltd.,     )
      Defendants.                           )
         Amended Scheduling Order and Order of Referral to Mediation
         This matter is before the Court upon an independent review of the
  record. Having considered the parties’ joint status report (ECF No. 41 in Case
  No. 21-24168), the Court resets this action and all Related Cases 1 for trial
  during the two-week trial period beginning on December 5, 2022. Calendar
  call will be held at 9:00 a.m. on the preceding Tuesday, November 29, 2022,
  at the Wilkie D. Ferguson, Jr. United States Courthouse, 400 N. Miami Avenue,
  Courtroom 12-3, Miami, Florida. A pretrial conference will be held immediately
  following calendar call only if requested by the parties in advance.
         Relatedly, the Court denies as moot the Defendants’ motion for a status
  conference (ECF No. 26 in Case No. 21-cv-24168), which concerned the
  previous scheduling order.
      1. The parties must comply with the following schedule, which applies to all
         Related Cases individually:
           Passed      Deadline to join additional parties or to amend pleadings.

                       Deadline to file a global joint interim status report that
       June 7, 2022    concerns all Related Cases in the docket of Case No. 21-cv-
                       24168.

       June 7, 2022    Deadline to file, consistent with the Order of Referral to
                       Mediation (which immediately follows this scheduling order), a


  1The “Related Cases” are: Case No. 21-cv-24168-RNS; Case No. 21-cv-24171-RNS; Case
  No. 21-cv-24172-RNS; Case No. 21-cv-24179-RNS; Case No. 21-cv-24181-RNS; Case
  No. 21-cv-24186-RNS; Case No. 21-cv-24188-RNS; Case No. 21-cv-24191-RNS; Case
  No. 21-cv-24192-RNS; Case No. 21-cv-24196-RNS; Case No. 21-cv-24200-RNS; Case
  No. 21-cv-24201-RNS; Case No. 21-cv-24202-RNS; Case No. 21-cv-24204-RNS; Case
  No. 21-cv-24206-RNS; Case No. 21-cv-24208-RNS; Case No. 21-cv-24210-RNS; Case
  No. 21-cv-24211-RNS; Case No. 21-cv-24213-RNS; Case No. 21-cv-24214-RNS; Case
  No. 21-cv-24216-RNS; Case No. 21-cv-24215-RNS; Case No. 21-cv-24217-RNS.
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                     single Proposed Order Scheduling Mediations for all Related
                     Cases in the docket of Case No. 21-cv-24168, setting forth
                     therein the name of the mediator(s), the date(s), time(s), and
                     location(s) of the mediation(s), with the corresponding Related
                     Case(s) to be mediated on such date(s) and time(s). This
                     proposed order must also be sent to the Court via e-mail at
                     scola@flsd.uscourts.gov in Word format (.doc).

                     Deadline to submit a global joint notice in the docket of Case
                     No. 21-cv-24168 indicating whether the parties consent to
    July 12, 2022    jurisdiction before the designated magistrate judge for
                     purposes of final disposition for certain, all, or none of the
                     Related Cases.

                     Deadline to complete all fact discovery.
                     Deadline to exchange expert witness summaries/reports
                     pursuant to Federal Rule of Civil Procedure 26(a)(2). Rebuttal
                     disclosures are permitted, and must conform to the deadline
                     set forth in Federal Rule of Civil Procedure 26(a)(2)(D)(ii).
       Passed        (When a treating physician testifies regarding opinions formed and
                     based upon observations made during the course of treatment, the
                     treating physician need not produce a Rule 26(a)(2)(B) report. By
                     contrast, treating physicians offering opinions beyond those arising
                     from treatment are experts from whom full Rule 26(a)(2)(B) reports
                     are required. See, Muzaffarr v. Ross Dress for Less, Inc., No. 12-
                     61996-CIV, 2013 WL 3850848, at *1 (S.D. Fla. July 26, 2013).)

                     Deadline for the filing of all dispositive motions in all Related
                     Cases. The parties may only file the dispositive motions that
                     the MDL Court denied without prejudice. (See ECF No. 41 at
                     5-17 in Case No. 21-cv-24168.) The parties may not file
                     dispositive motions that were not filed before the MDL Court.
                     To the extent there are issues common to all dispositive
                     motions in the Related Cases, those must be raised in only
                     one motion that is to be filed in the docket of Case No. 21-cv-
    August 9, 2022   24168. Where there are issues common to more than one
                     Related Case but fewer than all, a consolidated motion should
                     be filed in the lowest-numbered case with the motion listing
                     all the other Related Cases to which it applies. Where there
                     are any issues particular to a Related Case, the parties may
                     file a motion raising those particular issues only in the docket
                     of the Related Case. Any opposition or reply briefs must also
                     be filed in the manner described herein.
                     Deadline for the parties to file (a) joint statement(s) of
                     undisputed material facts and their individual statements of
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                    material facts for any facts not covered by the joint
                    statement(s) of undisputed material facts. Both the joint
                    statement(s) and the individual statements of material facts
                    must be filed in the same manner as the motions for summary
                    judgment.

                    Deadline to complete mediation(s) of all Related Cases,
    July 26, 2022   consistent with the Order of Referral to Mediation (which
                    immediately follows this scheduling order).

       Passed       Deadline to complete all expert discovery.

                   Deadline for the filing of pretrial motions, including motions in
                   limine and Daubert motions. To the extent there are issues
                   common to all pretrial motions in the Related Cases, those
                   must be raised in only one motion that is to be filed in the
                   docket of Case No. 21-cv-24168. Where there are pretrial
                   issues common to more than one Related Case but fewer than
   October 4, 2022 all, a consolidated motion should be filed in the lowest-
                   numbered case with the motion listing all the other Related
                   Cases to which it applies. Where there are any pretrial issues
                   particular to a Related Case, the parties may file a motion
                   raising those particular issues only in the docket of the
                   Related Case. Any opposition or reply briefs must also be filed
                   in the manner described herein.

                    Deadline to file joint pretrial stipulations under Local Rule
                    16.1(e) and pretrial disclosures as required by Federal Rule of
                    Civil Procedure 26(a)(3). To the extent there are stipulations or
                    disclosures common to all the Related Cases, those must be
                    submitted only in one document that is to be filed in the
                    docket of Case No. 21-cv-24168. Where there are stipulations
     November 7,
                    or disclosures common to more than one Related Case but
        2022
                    fewer than all, a consolidated document should be filed in the
                    lowest-numbered case with the document listing all the other
                    Related Cases to which it applies. Where there are any
                    stipulations or disclosures particular to a Related Case, the
                    parties may file a document raising those particular
                    stipulations only in the docket of the Related Case.

                    Deadline to file proposed jury instructions (if the matter is set
                    for a jury trial) or proposed findings of fact and conclusions of
    November 21,    law (if the matter is set for a bench trial) consistent with Local
        2022        Rule 16.1(k) for each Related Case. To the extent there are
                    proposed jury instructions or proposed findings of fact
                    common to all the Related Cases, those must be submitted
                    only in one document that is to be filed in the docket of Case
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                     No. 21-cv-24168. Where there are proposed jury instructions
                     or proposed findings of fact common to more than one Related
                     Case but fewer than all, a consolidated document should be
                     filed in the lowest-numbered case with the document listing
                     all the other Related Cases to which it applies. Where there
                     are any proposed jury instructions or proposed findings of fact
                     particular to a Related Case, the parties may file a document
                     raising those particular stipulations only in the docket of the
                     Related Case.

     2. Interim Joint Status Report. The parties are required to submit one
  global interim joint status report in the docket of Case No. 21-cv-24168 that
  covers all Related Cases and addresses the following issues:
       a) Have the parties agreed on and selected mediator(s)? Have the
          parties agreed upon a place, date, and time for mediation(s)?
          Have the parties agreed on the format for the mediation(s) of all
          Related Cases? If so, specify the format. If not, explain proposed
          formats. Note each of the Related Cases must be mediated in a
          meaningful manner.
       b) Have the parties engaged in informal settlement negotiations in
          any of the Related Cases? If not, explain the reasons for the
          failure to do so. If yes, state the status of such negotiations for
          each Related Case (e.g., ongoing, impasse, etc.) and the relative
          prospects for resolution through informal means.
       c) Identify any other issues that the Court should be aware of that
          may affect the resolution of this matter or the schedule as
          currently set.
       d) Are there any Related Cases that the parties envision will be tried
          together? If so, specify which.
       e) Are there any issues in any of the Related Cases that will be tried
          together? If so, specify which issues and which Related Cases
          they apply to.
       f) Are there any Related Cases that require additional time to
          prepare for trial? If so, specify which, explain the reasons therefor
          and file a proposed revised scheduling order with a copy to
          scola@flsd.uscourts.gov in Word (.doc) format.
       g) Do the parties have any proposals on how to try the Related
          Cases efficiently?
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      3. References to documents in summary-judgment motions. When a party
  files a motion for summary judgment, the party must include the ECF number
  of any exhibits or other documents referred to in the motion or the
  accompanying statement of material facts (required by Local Rule 56.1). This
  means that if a document is not already on the record, a party will need to
  submit a Notice of Filing before he or she files the summary-judgment motion
  and the statement of material facts.
      4. Limit on motions in limine & Daubert motions. Each party is limited to
  filing one motion in limine and one Daubert motion that is particular to a
  Related Case; that is, without counting any consolidated or global motions as
  described above. If a party cannot address his or her evidentiary issues or
  expert challenges in a 20-page motion, leave to exceed the page limitation will
  be granted upon a showing of good cause. The parties are reminded that
  motions in limine and Daubert motions must contain the Local Rule 7.1(a)(3)
  pre-filing conference and certification.
     5. Jury Instructions. The parties must submit their proposed jury
  instructions jointly, though they need not agree on each proposed instruction.
  Where both parties agree on a proposed instruction, that instruction must be
  set out in regular typeface. Instructions proposed only by a plaintiff must be
  underlined. Instructions proposed only by a defendant must be bold-faced.
  Every instruction must be supported by a citation of authority. The parties
  should use as a guide the Eleventh Circuit Pattern Jury Instructions for Civil
  Cases, including the directions to counsel, or the applicable state pattern jury
  instructions. The parties must jointly file their proposed jury instructions via
  CM/ECF, and must also submit their proposed jury instructions to the Court
  via e-mail at scola@flsd.uscourts.gov in Word format (.doc).
     6. Trial Exhibits. All trial exhibits must be pre-marked. Plaintiff’s exhibits
  must be marked numerically with the letter “P” as a prefix. Defendant’s
  exhibits must be marked alphabetically with the letter “D” as a prefix. A list
  setting out all exhibits must be submitted at the time of trial for each Related
  Case. This list must indicate the pre-marked identification label (e.g., P-1, or D-
  A) and must also include a brief description of the exhibit.
      7. Deposition Designations. Any party intending to use deposition
  testimony as substantive evidence must designate by line and page reference
  those portions in writing in the docket for the Related Case. The designations
  must be served on opposing counsel and filed with the Court 14 days before
  the deadline to file the joint pretrial stipulation. The adverse party must serve
  and file any objections and any cross-designations within seven days. The
  initial party then has seven days to serve and file objections to the cross-
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  designations. Desposition designations should only be used for witnesses who
  will certainly be unavailable to testify at trial.
      8. Voir Dire Questions. The Court will require each prospective juror to
  complete a brief written questionnaire prior to the commencement of
  questioning in the courtroom. Any party may submit up to five proposed, case-
  specific questions to be included in the questionnaire. The proposed questions
  must be filed with the Court at the time of the filing of the joint pretrial
  stipulations—following the same pattern for submission described above for the
  joint pretrial stipulations—and must also be submitted to the Court via e-mail
  at scola@flsd.uscourts.gov in Word format (.doc).
     9. Notification of juror misconduct. Every party has an affirmative duty to
  notify the Court immediately of any possible juror misconduct or any
  information that might possibly reflect on a juror’s ability to serve. Immediate
  notification is required to allow the Court the opportunity to address the issue,
  including questioning the juror and, if necessary, discharging the juror and
  seating an alternate juror. In any trial lasting more than five days, the Court
  imposes an affirmative duty on both sides to conduct all reasonable
  investigations of juror misconduct, including statements provided during voir
  dire, and to advise the Court immediately of any discovered misconduct. Any
  party who fails to conduct a reasonable investigation in this situation and later
  discovers an incidence of juror misconduct has waived his, her, or its right to
  rely on that misconduct in a motion before this Court.
     10.       Settlement Conference Before Magistrate Judge. The parties may,
  at any time, file a motion requesting a settlement conference before United
  States Magistrate Judge Jonathan Goodman for all or less than all of the
  Related Cases directly into the corresponding docket(s). The Court encourages
  the parties to consider confidential settlement conferences with Judge
  Goodman, especially if the parties believe there is a meaningful chance of
  reaching an early, amicable resolution of their dispute.
     11.       Settlement Notification. If any Related Case is settled, counsel are
  directed to inform the Court promptly via telephone (305-523-5140) and/or
  e-mail (scola@flsd.uscourts.gov).
        Done and ordered at Miami, Florida on April 12, 2022.

                                           ________________________________
                                           Robert N. Scola, Jr.
                                           United States District Judge
               [Order of Referral to Mediation on following page]
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                             United States District Court
                                       for the
                             Southern District of Florida

      Martin Kuntz and Steve Binns,        )
      Plaintiffs,                          )
                                           )
   v.                                      )
                                             Civil Action No. 21-24213-Civ-Scola
                                           )
   Knauf GIPS, KG, and Knauf               )
   Plasterboard (Tianjin) Co., Ltd.,       )
   Defendants.                             )
                             Order of Referral to Mediation
         Trial having been set in this matter and in each of the Related Cases 1,
  pursuant to Federal Rule of Civil Procedure 16 and Local Rule 16.2, it is
  ordered and adjudged as follows:
      1. All parties in this and each Related Case are required to participate in
  mediation. The Court defers to the parties on how to conduct their mediations
  but notes that a singular, global mediation that does not allow for meaningful
  discussions concerning the merits of each Related Case does not comport with
  this order. The parties must conduct their mediations in each Related Case no
  later than the deadline set out in the Court’s Scheduling Order.
      2. The Court designates Plaintiff’s counsel as lead counsel for purposes of
  this mediation order in all Related Cases. Upon written agreement by all
  counsel of record and any unrepresented parties in a particular Related Case,
  the parties may designate a different attorney to be lead counsel for purposes of
  this mediation order in that Related Case. Lead counsel is responsible for
  scheduling the mediation conference.
      3. The parties are encouraged to avail themselves of the services of any
  mediator on the List of Certified Mediators, maintained in the office of the Clerk
  of the Court, but may select any other mediator. The parties must agree upon a
  mediator within 60 days from the date of this Order. If there is no agreement,
  lead counsel must promptly notify the Clerk of the Court in writing and the
  Clerk of the Court will designate a mediator from the List of Certified
  Mediators. That designation will be made on a blind rotation basis.

  1The “Related Cases” are: Case No. 21-cv-24168-RNS; Case No. 21-cv-24171-RNS; Case
  No. 21-cv-24172-RNS; Case No. 21-cv-24179-RNS; Case No. 21-cv-24181-RNS; Case
  No. 21-cv-24186-RNS; Case No. 21-cv-24188-RNS; Case No. 21-cv-24191-RNS; Case
  No. 21-cv-24192-RNS; Case No. 21-cv-24196-RNS; Case No. 21-cv-24200-RNS; Case
  No. 21-cv-24201-RNS; Case No. 21-cv-24202-RNS; Case No. 21-cv-24204-RNS; Case
  No. 21-cv-24206-RNS; Case No. 21-cv-24208-RNS; Case No. 21-cv-24210-RNS; Case
  No. 21-cv-24211-RNS; Case No. 21-cv-24213-RNS; Case No. 21-cv-24214-RNS; Case
  No. 21-cv-24216-RNS; Case No. 21-cv-24215-RNS; Case No. 21-cv-24217-RNS.
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      4. A place, date, and time for mediation convenient to the mediator, counsel
  of record, and unrepresented parties must be established no later than the
  deadline in the Scheduling Order for each Related Case. Lead counsel must
  complete the attached form Order Scheduling Mediation and submit it to the
  Court per the instructions provided in the Scheduling Order.
      5. The following applies in the mediation of each Related Case: pursuant to
  Local Rule 16.2(e), the appearance of counsel and each party or representatives
  of each party with full authority to enter into a full and complete compromise
  and settlement is mandatory. If insurance is involved, an adjuster with
  authority up to the policy limits or the most recent demand, whichever is lower,
  must attend.
      6. All proceedings of the mediation will be confidential and privileged.
      7. At least 14 days prior to the mediation date(s), each party must present
  to the mediator a confidential brief written summary of the relevant Related
  Case(s) identifying issues to be resolved. The mediator is authorized to grant
  extensions of time up to the mediation for the parties to file their mediation
  statements.
      8. The Court may impose sanctions against parties and/or counsel who do
  not comply with the attendance or settlement authority requirements in this
  Order, or who otherwise violate the terms of this Order. The mediator must
  report non-attendance and may recommend imposition of sanctions by the
  Court for non-attendance.
      9. The mediator must be compensated in accordance with the standing
  order of the Court entered pursuant to Local Rule 16.2(b)(6), or on such basis
  as may be agreed to in writing by the parties and the mediator selected by the
  parties. The cost of mediation must be shared equally by the parties unless
  otherwise ordered by the Court. All payments must be remitted to the mediator
  within 45 days of the date of the bill. Notice to the mediator of cancellation or
  settlement prior to the scheduled mediation conference must be given at least
  three full business days in advance. Failure to do so will result in imposition of
  a fee for two hours of mediation.
      10.       If a full or partial settlement is reached in any Related Case case,
  counsel must promptly notify the Court of the settlement in accordance with
  Local Rule 16.2(f), by the filing of a notice of settlement directly into the Related
  Case’s docket, signed by counsel of record within 14 days of the mediation
  conference. Thereafter the parties must promptly submit an appropriate
  pleading concluding the case in the docket of the corresponding Related Case.
      11.       Within seven days following the mediation conference, the
  mediator must file (a) Mediation Report(s) for each mediation conducted
  indicating whether all required parties were present. The report must also
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  indicate whether any Related Case settled (in full or in part), was adjourned, or
  whether the mediator declared an impasse. If the mediator fails to file a
  Mediation Report within seven days following a mediation conference,
  lead counsel must file a Mediation Report within 14 days of such
  mediation conference.
     12.      If mediation is not conducted in conformity with this order, the
  case that was not mediated may be stricken from the trial calendar, and other
  sanctions may be imposed.
        Done and ordered at Miami, Florida on April 12, 2022.


                                                            f
                                             _____________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________




                                             Robert N. Scola, Jr.
                                             United States District Judge
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              Attachment “A” to the Order Of Referral To Mediation:
                       Form Order Scheduling Mediation


                              United States District Court
                                        for the
                              Southern District of Florida

    _______________________, Plaintiff    )
                                          )
    v.                                    )   Civil Action No. __________-Civ-Scola
                                          )
    _______________________, Defendant    )

                             Order Scheduling Mediation

         The parties will hold the mediation conference in this matter before
   (mediator) on (date) .at (time) .at (location) . The mediator and the parties
   have agreed to this date. The parties may not reschedule the mediation without
   leave of the Court.

         Done and ordered in chambers, at Miami, Florida, on _________________.

                                               ________________________________
                                               Robert N. Scola, Jr.
                                               United States District Judge
